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                             United States Court of International Trade
                                      One Federal Plaza
                                    New York, NY 10278




   CHAMBERS OF
Gary S. Katzmann
      JUDGE
                                                           June 21, 2021


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Re:    Sea Shepherd New Zealand v. United States
       Court No.: 20-00112
       Questions for Oral Argument

Dear Counselors:

        In light of the current COVID-19 pandemic, oral argument in this case will be held
remotely via WebEx, in lieu of a proceeding at the courthouse, on Thursday, July 1, 2021 at 11:00
a.m. The court will provide dial-in information to the parties. Information on how the public can
listen to open proceedings can be found on the court’s website under “Upcoming Court
Proceedings Accessible via Teleconference” (https://www.cit.uscourts.gov/upcoming-court-
proceedings-accessible-teleconference). The argument, if public and not closed, will be recorded
and made available to the public via the court’s website. If you will be requesting a closed
argument or portions of the argument, please inform my case manager, Geoffrey Goell, no later
than close of business, Tuesday, June 29, 2021. The court encourages the parties to maintain a
public argument, if possible.
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        The court has examined the parties’ briefs and documents and would like counsel to submit
answers in writing to the court’s questions for oral argument by close of business on Tuesday, June
29, 2021. Parties shall file public and, if necessary, confidential versions of their answers, of not
more than twenty pages. The oral argument shall be dedicated only to rebuttal arguments to the
answers filed by opposing counsel on Tuesday, June 29, 2021. The court will also permit but not
require brief opening statements. Presentations shall not exceed thirty (30) minutes for the
plaintiffs and thirty (30) minutes for the defendants and defendant-intervenor.

I.      Questions to Plaintiffs Sea Shepherd New Zealand and Sea Shepherd Conservation
        Society

     1. Are there any recent updates regarding the Māui dolphin population or bycatch? Have
        there been any changes or further developments following the October 2020
        implementation of the New Zealand Government’s (“GNZ”) new gill net and trawl
        restrictions?

        a. What harm, if any, has occurred during the pendency of the motion for a preliminary
           injunction, including during the voluntary remand period?

     2. On remand, the National Oceanic and Atmospheric Administration (“NOAA”) determined
        that the GNZ’s regulatory actions are comparable to the US’s and no import ban is required.
        Why is NOAA’s denial of the import ban not an action sufficient to satisfy 5 U.S.C. §
        706(1)? What legal authority supports your answer?

        a. In any event, would a determination by the court that NOAA failed to implement a
           required import ban entail the court’s second-guessing of NOAA’s determination
           and/or re-weighing of the evidence underlying the remand determination? See Def.-
           Inter.’s Br. in Opp. to Pls.’ Mot. for Prelim. Inj. at 48, Jan. 15, 2021, ECF 55 (“Def.-
           Inter.’s Opp.”).

     3. Defendant United States (“Government”) contends that you had an opportunity, via the
        court’s grant of a voluntary remand, to supplement your petition with new factual
        information in order to obtain administrative remedy for your claim under 5 U.S.C. §
        706(1). Def.’s Mot. to Dismiss Count I at 8, 13, Jan. 27, 2021, ECF No. 58. Do you contest
        the Government’s assertion that you submitted, and NOAA reviewed, a revised
        supplemental petition?

        a. If NOAA addressed and rejected your supplemental petition, why was that not an
           affirmative action by the agency such that 5 U.S.C. § 706(1) would be inapplicable to
           NOAA’s need to act under the Marine Mammal Protection Act (“MMPA”)?

            b. If 5 U.S.C. § 706(1) does not apply, how would you respond to the Government’s
               contention that, by attempting to bypass a fulsome appeal of the NOAA decision,
               you have failed to exhaust your administrative remedies? Def.’s Mot. to Dismiss
               Count I at 14.
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   4. You argue that the “comparable in effectiveness” standard is from the Fish and Fish
      Product Import Provisions of the Marine Mammal Protection Act, 81 Fed. Reg. 54,390
      (NOAA Aug. 15, 2016) (“Imports Rule”), not the MMPA, and that the court should
      therefore rely on the “plain and unambiguous language” of the MMPA. Pls.’ Mot. for
      Prelim. Inj. at 42, Dec. 11, 2020, ECF No. 49 (“Pls.’ Mot.”). Is it not the case that Imports
      Rule is NOAA’s interpretation and implementation of the MMPA, and is therefore owed
      Chevron deference by the court?

      a. Is it your position that the Imports Rule is not a reasonable interpretation of the MMPA
         import ban language?

   5. The GNZ contends that the existence of a traceability system is not dispositive of
      compliance with the MMPA and associated import regulations. Def.-Inter.’s Opp. at 29.
      Why is traceability, rather than alternative methods for the elimination of bycatch (such as
      monitoring procedures), required to establish compliance? See Pls.’ Mot. at 10. Please
      identify any relevant commentary by NOAA on remand regarding the issue of traceability.

   6. You argue that “New Zealand has not provided reasonable proof that it is currently
      implementing a monitoring program designed to reliably estimate bycatch,” and has
      therefore failed to satisfy the requirements necessary for a comparability finding. Pls.’
      Mot. at 38. What information did NOAA rely on to make its determination that the
      evidence provided by New Zealand was in fact sufficient? In the process of reaching a
      determination, did NOAA address your contentions regarding inadequate observer
      coverage? Id.

   7. The court explained in Nat. Res. Def. Council v. Ross, 42 CIT __, __, 331 F. Supp. 3d
      1338 (2018) (“NRDC v. Ross”) that NOAA is required to request reasonable proof from
      foreign governments when determining whether to grant an exemption -- not when
      determining whether an import ban is necessary in the first place. Why does NOAA’s
      affirmative determination that the GNZ provided reasonable proof that an import ban is
      unnecessary not distinguish this case from NRDC v. Ross?

      a. How do you respond to the GNZ’s contention that the MMPA requires that an import
         ban be preceded by a finding that the foreign regulations under review “have resulted,
         or will in the future result, in incidental mortality or serious injury that exceeds [U.S.]
         standards”? Def.-Inter.’s Opp. at 5–6; Def.-Inter.’s Reply Br. at 2–3, Mar. 10, 2021,
         ECF No. 66.

   8. Are there any recent or pending Federal Circuit or CIT cases that may change the court’s
      analysis?
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II.      Questions to Defendant the United States and Defendant-Intervenor New Zealand
         Government

      1. Are there any recent updates regarding the Māui dolphin population or bycatch? Have
         there been any changes or further developments following the October 2020
         implementation of the New Zealand Government’s (“GNZ”) new gill net and trawl
         restrictions?

         a. What harm, if any, has occurred during the pendency of the motion for a preliminary
            injunction, including during the voluntary remand period?

      2. How do you respond to Plaintiffs’ concerns regarding GNZ’s alleged failure to implement
         a traceability system? See Pls.’ Mot. at 10. Were these concerns addressed by NOAA on
         remand?

      3. Do you agree with Plaintiffs’ contention that NOAA was required, under 50 C.F.R.
         § 216.24(h)(7), to consider specified aspects of the GNZ’s protective measures? Pls.’ Mot.
         at 18–19, 40–41.

         a. If so, where were these aspects considered?

         b. If not, what, if anything, was NOAA in fact required to consider under its regulations
            and the MMPA? Further, is it your position that Plaintiffs were required to proactively
            seek consideration of the factors outlined by 50 C.F.R. § 216.24(h)(7) on review and
            remand?

      4. How do you respond to Plaintiffs’ allegation, relying on the Declaration of Dr. Timothy
         Ragen at 6, Dec. 11, 2020, ECF No. 49-4, that NOAA determines compliance with the
         ZMRG by assessing whether fishery-reduced mortality is less than 10% of PBR, and that
         New Zealand therefore de facto fails to comply with ZMRG? See Pls.’ Mot. at 27–28.

      5. How do Plaintiffs’ previous comments that the MMPA import regulations constituted a
         “step in the right direction” constitute judicial estoppel of Plaintiffs’ claims that the
         NOAA’s failed to apply those regulations to the GNZ and the Māui dolphin? Why can
         Plaintiffs not generally support the MMPA import regulations while nevertheless
         contesting their specific application?

      6. Plaintiffs note that “[b]oth New Zealand and [the Government] accept as fact that at least
         6 percent of the dolphins are distributed between the 50-meter and 100-meter depth
         contours . . . . [y]et New Zealand’s regulations do not prohibit gillnet or trawl fishing
         throughout this area” despite the six percent number well exceeding the PBR limit in case
         of entanglement. Pls.’ Reply in Support of Mot. for Prelim. Inj. and Resp. in Opp. to Defs.’
         Mots. to Dismiss at 33–34, Feb. 17, 2021, ECF No. 64 (“Pls.’ Reply”). How do you
         respond to the contention that this regulatory oversight constitutes inadequate protection
         given the risk of PBR?
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      a. How did NOAA respond to this information, if at all?

   7. Plaintiffs contest the Government’s characterization of the IWC’s position on the GNZ’s
      protection of Māui dolphins. Pls.’ Reply at 38. Did NOAA address the IWC’s critiques
      of the GNZ’s implementation of its protection measures in its remand results?

   8. Please identify any record information directly addressing Plaintiffs’ argument that, in light
      of the mortality limits and estimated yearly loss of Māui dolphins, “the only acceptable
      approach,” under U.S. standards, “is to ban fishing practices that threaten the dolphins
      throughout their range, just as the United States has done for endangered species more
      populous than the Māui dolphin.” Pls.’ Mot. at 31.

   9. Are there any recent or pending Federal Circuit or CIT cases that may change the court’s
      analysis?

                                                     Sincerely,

                                                     /s/ Gary S. Katzmann
                                                     Gary S. Katzmann
                                                           Judge
